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State of Connecticut}
} SS: Southington June 17, 2020
County of Hartford}

Then and there by virtue hereof at the direction of the plaintiff /plaintiff’s attorney I left an attested true
copy of the within Summons in A Civil Case, Complaint, Prayer for Relief, Exhibit A Plaintiffs Motion
for Emergency Temporary Restraining Order or in the Alternative, Issuance of a Preliminary Injunction.
Memorandum of Law in Support of Plaintiffs’ Emergency Motion for Temporary Restraining Order, or
in the Alternative, Issuance of a Preliminary Injunction, , Exhibit A, B and C, Declaration of David
Habberfeld Regarding Auracle Homes, LLC, Declaration of David Habberfeld, Duly Authorized
Member, Buckley Farms. LLC, Declaration of Jay Sheth, Duly Authorized Member of Orange Capitol,

LLC. Declaration of Jay Sheth, Duly Authorized Member of216 East Main Street Meriden, LLC.

Declaration of David Candelora, Managing Member of BD Property Holdings, LLC, Declaration of
David Habberfeld Managing Member Habberfeld Enterprises, LLC, Proposed Order Regarding

Plantiffs’ Motion for Emergency Temporary Restraining Order or in the Alternative, Issuance of a
Preliminary Injunction , Order on Pre-trai] Deadlines, Electronic Filing Order, Standing Protective
Order, Notice to Counsel and Self-Represented Parties and Order RE: Disclosure Statement with and in
the hands of Ned Lamont, c/o Eric T. Lohr, Associate Attorney General, 165 Capitol, Avenue, Hartford
CT 06106-0120.

?

And thereafter, on June 18, 2020, | left an attested true copy of the within Summons in A Civil Case.
Complaint, Prayer for Relief, Exhibit A Plaintiffs Motion for Emergency Temporary Restraining Order
or in the Alternative, Issuance of a Preliminary Injunction, Memorandum of Law in Support of
Plaintiffs’ Emergency Motion for Temporary Restraining Order, or in the Alternative, Issuance of a
Preliminary Injunction, , Exhibit A, B and C, Declaration of David Habberfeld Regarding Auracle
Homes, LLC, Declaration of David Habberfeld, Duly Authorized Member, Buckley Farms. LLC,
Declaration of Jay Sheth, Duly Authorized Member of Orange Capitol, LLC, Declaration of Jay Sheth,
Duly Authorized Member of216 East Main Street Meriden, LLC. Declaration of David Candelora,
Managing Member of BD Property Holdings, LLC, Declaration of David Habberfeld Managing
Member Habberfeld Enterprises, LLC, Proposed Order Regarding Plantiffs’ Motion for Emergency
Temporary Restraining Order or in the Alternative, Issuance of a Preliminary Injunction , Order on Pre-
trail Deadlines, Electronic Filing Order, Standing Protective Order, Notice to Counsel and Self-
Represented Parties and Order RE: Disclosure Statement at the usual place of abode of the within named
defendant, Ned Lamont, 990 Prospect Avenue, Hartford, CT 06105.

The within is the original within Summons in A Civil Case, Complaint, Prayer for Relief. Exhibit A
Plaintiffs Motion for Emergency Temporary Restraining Order or in the Alternative, Issuance of a
Preliminary Injunction, Memorandum of Law in Support of Plaintiffs’ Emergency Motion for
Temporary Restraining Order, or in the Alternative, Issuance of a Preliminary Injunction, , Exhibit A. B
and C, Declaration of David Habberfeld Regarding Auracle Homes, LLC, Declaration of David
Habberfeld, Duly Authorized Member, Buckley Farms. LLC, Declaration of Jay Sheth, Duly Authorized

Member of Orange Capitol, LLC, Declaration of Jay Sheth, Duly Authorized Member of216 East Main
Street Meriden, LLC. Declaration of David Candelora, Managing Member of BD Property Holdings,
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LLC, Declaration of David Habberfeld Managing Member Habberfeld Enterprises, LLC, Proposed
Order Regarding Plantiffs’ Motion for Emergency Temporary Restraining Order or in the Alternative,
Issuance of a Preliminary Injunction, Order on Pre-trail Deadlines, Electronic Filing Order, Standing
Protective Order, Notice to Counsel and Self-Represented Parties and Order RE: Disclosure Statement
with my doings here on endorsed.

ATTEST: _

Dennis Conroy
Connecticut State Marshal
Indifferent Person

FEES:

Service $80.00
Copies 264.00
Endorsement 105.60
Travel 40.83

Total $490.43
